Case 0:19-cv-61553-WPD Document 1 Entered on FLSD Docket 06/21/2019 Page 1 of 5



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 19-CV-61553

 ERICK VASQUEZ,

         Plaintiff,

 vs.

 J & J GROUP SERVICES INC,
 CARLOS J. JUAREZ, and
 CESAR J. JUAREZ BANEGAS,

       Defendants.
 ______________________________/

                      COMPLAINT FOR FLSA OVERTIME VIOLATION(S)

         Plaintiff, Erick Vasquez, sues Defendants, J & J Group Services Inc, Carlos J. Juarez and

 Cesar J. Juarez Banegas, as follows:

                                  Parties, Jurisdiction, and Venue

         1.      Plaintiff, Erick Vasquez, was and is a resident of Miami-Dade County,

 Florida, at all times material, and he is sui juris.

         2.      Plaintiff was an hourly non-exempt employee of Defendants.

         3.      Plaintiff consents to participate in this lawsuit.

         4.      Defendant, J & J Group Services Inc, is a Florida for-profit corporation that

 is authorized to conduct and that actually conducts its framing/drywall business throughout this

 District, with an office / place of business within Broward County, Florida, and it is sui juris.

         5.      Defendant, Carlos J. Juarez, was at all material times a resident of this

 District in Miami-Dade County; he was and is a manager, owner, officer, director, and/or

 operator of the corporate Defendant, for the relevant time period. He ran its day-to-day
                                                        1

                        7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                  TEL 305.230.4884 FAX 305.230.4844
                                        www.fairlawattorney.com
Case 0:19-cv-61553-WPD Document 1 Entered on FLSD Docket 06/21/2019 Page 2 of 5



 operations and was partially or totally responsible for paying Plaintiff’s wages.

        6.      Defendant, Cesar J. Juarez Banegas, was at all material times a resident of

 this District in Miami-Dade County; he was and is a manager, owner, officer, director, and/or

 operator of the corporate Defendant, for the relevant time period. He ran its day-to-day

 operations and was partially or totally responsible for paying Plaintiff’s wages.

        7.      Defendants were direct employers, joint employers and co-employers for purposes

 of the FLSA, as that term “employer” is defined by 29 U.S.C. §203 (d). Both Defendants

 employed the Plaintiff.

        8.      Venue is proper pursuant to 28 U.S.C. §1391(b)(ii) because Defendants transact

 business in this District, because Defendants employed Plaintiff in this District, because Plaintiff

 worked in this District, because Defendants paid Plaintiff in this District, and because most of the

 actions complained of occurred within this District.

        9.      This Court has original jurisdiction over Plaintiff’s federal question claims.

                                         Background Facts

        10.     Defendants regularly employed two or more employees for the relevant time

 period that handled goods or materials that travelled through interstate commerce, or used

 instrumentalities of interstate commerce, thus making Defendants’ business an enterprise covered

 under the Fair Labor Standards Act.

        11.     Furthermore, Defendants have been at all times material engaged in interstate

 commerce in the course of their performance of interior drywall and framing using lumber, metal

 studs, drywall, hand tools, fasteners, and materials and supplies which had been placed in the

 stream of commerce from outside of the State of Florida and then incorporated these raw

 materials and supplies using materials (equipment) that also was placed into the stream of
                                                   2

                      7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                TEL 305.230.4884 FAX 305.230.4844
                                      www.fairlawattorney.com
Case 0:19-cv-61553-WPD Document 1 Entered on FLSD Docket 06/21/2019 Page 3 of 5



 interstate commerce into the construction and construction management performed by

 Defendants.

        12.     Defendants’ annual gross revenues derived from this interstate commerce are

 believed to be in excess of $500,000.00 for the relevant time period.

        13.     Plaintiff’s work for Defendants was actually in or so closely related to the

 movement of commerce while he worked for Defendants that the Fair Labor Standards Act

 applies to Plaintiff’s work for Defendants.

        14.     Plaintiff worked for Defendant as a framer/installing drywall worker from 2017 to

 February 8, 2019.

        15.     During this time, Plaintiff utilized tools, machinery, materials, wood, metal studs,

 fasteners, and supplies that were provided to him by Defendants and that traveled in interstate

 commerce prior to Plaintiff’s use of the same.

        16.     To the extent that records exist regarding the exact dates of Plaintiff’s

 employment, such records are in Defendants’ exclusive custody.

        17.     Defendants agreed to pay Plaintiff an hourly rate of $18.00 per hour for each

 hour (or part thereof) that he worked.

        18.     Plaintiff regularly and routinely worked more than 40 hours in a workweek.

        19.     Defendants, however, failed and refused to pay Plaintiff overtime wages calculated

 at time and one-half of his regular hourly rate for all hours worked over 40 hours in a given

 workweek.

        26.     Defendants willfully and intentionally refused to pay Plaintiff wages at a rate of

 time and one-half times his regular rate of pay for each of the overtime hours he worked during

 the relevant time period.
                                                  3

                      7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                TEL 305.230.4884 FAX 305.230.4844
                                      www.fairlawattorney.com
Case 0:19-cv-61553-WPD Document 1 Entered on FLSD Docket 06/21/2019 Page 4 of 5



         27.     Defendants either recklessly failed to investigate whether their failure to pay

 Plaintiff an overtime wage for the hours he worked during the relevant time period violated the

 Federal Wage Laws of the United States, they intentionally misled Plaintiff to believe that

 Defendant were not required to pay him overtime, and/or Defendants concocted a scheme

 pursuant to which it deprived Plaintiff the overtime pay he earned.

         28.     Plaintiff is entitled to a back pay award of overtime wages for all overtime hours

 worked, plus an equal amount as a penalty, plus all attorneys’ fees and costs.

         29.     All conditions precedent to filing this lawsuit occurred and/or were satisfied by

 Plaintiff.

         30.     Plaintiff retained the undersigned counsel and agreed to pay a reasonable fee for

 all services rendered.

         WHEREFORE Plaintiff, Erick Vasquez, demands the entry of a judgment in his favor

 and against Defendants, J & J Group Services Inc, Carlos J. Juarez and Cesar J. Juarez Banegas,

 jointly and severally, after trial by jury and as follows:

                 a.       That Plaintiff recovers compensatory overtime wage damages and an

                          equal amount of liquidated damages as provided under the law and in 29

                          U.S.C. § 216(b);

                 b.       That Plaintiff recovers pre-judgment interest on all unpaid overtime wages

                          if the Court does not award liquidated damages;

                 c.       That Plaintiff recovers an award of reasonable attorneys’ fees, costs, and

                          expenses pursuant to the FLSA;

                 d.       That Plaintiff recovers all interest allowed by law;



                                                     4

                       7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                                 TEL 305.230.4884 FAX 305.230.4844
                                       www.fairlawattorney.com
Case 0:19-cv-61553-WPD Document 1 Entered on FLSD Docket 06/21/2019 Page 5 of 5



               e.      That Defendants be Ordered to make Plaintiff whole by providing

                       appropriate overtime pay and other benefits wrongly denied in an amount

                       to be shown at trial and other affirmative relief;

               f.      That the Court declare Defendants to be in willful violation of the

                       overtime provisions of the FLSA; and

               g.      Such other and further relief as the Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury of all issues so triable.

       Dated this 21st day of June 2019.


                                                        Respectfully Submitted,

                                                        s/Brian H. Pollock, Esq.
                                                        Brian H. Pollock, Esq.
                                                        Fla. Bar No. 174742
                                                        brian@fairlawattorney.com
                                                        FAIRLAW FIRM
                                                        7300 N. Kendall Drive
                                                        Suite 450
                                                        Miami, FL 33156
                                                        Tel: 305.230.4884




                                                   5

                     7300 N. Kendall Drive, Suite 450, Miami, Florida 33156
                               TEL 305.230.4884 FAX 305.230.4844
                                     www.fairlawattorney.com
